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                                                  May 27, 2025

        By ECF

        Hon. Frederic Block
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                 Re:   United States v. Singh
                       23 Cr. 236 (FB)

        Dear Judge Block:

                I am writing on behalf of my client, Sagar Singh, who, at the age of 21, is
        scheduled to appear before the Court for sentencing on June 4, 2025, following his plea
        of guilty to conspiracy to access a computer without permission and aggravated identity
        theft. As reflected in the letters of support from family members submitted as exhibits to
        this memorandum, Sagar is a respectful and devoted son with considerable promise, and
        his involvement with a group that engaged in crimes over the internet arose in the wake of
        a troubled adolescence marked by a series of painful losses, culminating with the death of
        his father when Sagar was seventeen year old. Taking the circumstances of Sagar’s life
        into account, we will urge the Court to conclude that the statutory sentence of two years
        that must be imposed with regard to aggravated identity theft is more than sufficient to
        achieve the purposes of sentencing in this case.

                 Sagar’s History and Background

               Sagar Steven Singh was born on November 4, 2003, into a close-knit family of
        recent immigrants from the Fiji Islands. As the only child of Suchendra (“Suchen”) and
        Rittu Singh, he was raised not only by his parents but by his father’s parents, Ram Sharan
        and Bodh Mati Sharan, whose nearby home shared a backyard with his. As Sagar’s older
        cousin, Sheena Singh, recalls:

                       We all grew up in Pawtucket, RI, an urban and low-income
                       community. We lived on the same street, just one house apart,
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              and were supported by aunts, uncles, and two doting
              grandparents. The love and support we received from our
              grandparents were instrumental in our upbringing, and we
              were fortunate to experience such a strong family bond. We
              were provided a life of community and love and didn’t
              know we were “poor” until we went to college. [Exhibit B]

        Another cousin, Shalina Mondesir, writes that Sagar “has always been bright,
sharp and ahead of the kids his age” [Exhibit C], and Sagar’s mother recalls that, as a
child, he was “always respectful, always eager to do well” and that “[t]eachers would
often tell me how well-behaved and hardworking he was.” [Exhibit A] Inspired by his
father, who was known for his love of soccer, Sagar became a devotee of the sport and
loved to play with his friends after school. Cousin Sheena tells the Court that, as an honor
roll student, his goal was to earn a soccer scholarship for college. [Exhibit B]

        The trajectory of Sagar’s life was disrupted at the age of thirteen by the death of
his grandfather in March of 2017. As Ms. Mondesir notes, “[a]lthough he was old, his
passing was sudden and heartbreaking for us all.” [Exhibit C] Then, only three months
later, on July 1, 2017, Sagar’s grandmother died of cancer. Sheena describes how these
significant family losses in close succession to one another affected Sagar both directly
and, perhaps even more significantly, through their impact on his father:

              Sagar suddenly lost both of his live-in grandparents, both of
              whom loved him unconditionally. Three weeks after my
              grandmother passed away, I lost our first daughter in late
              pregnancy. This loss devastated the family, but especially my
              Uncle Suchen, Sagar’s father. He was the uncle who took care
              of me and my sister when we were growing up, having lived
              with us as a teenager and only moving next door with my
              grandparents.

              Uncle Suchen, who had always been a pillar of strength for
              our family, began drinking heavily to cope with the grief. He
              had lived with his parents all his life and was deeply affected
              by their loss. Sagar, witnessing his father’s struggle, began to
              see a different, darker side of life. [Exhibit B]
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       Later in the same year, Sagar’s father learned that the employment through which
he had supported his family for 23 years – as a sterilization technician at Memorial
Hospital in Pawtucket – would come to an end. In October of 2017, the hospital
announced that it would close early the following year. The loss of the hospital was
devastating to the entire community, but had a particularly intense impact on the Singh
family. Still grieving the loss of his parents, Suchen grew more and more depressed
(without seeking treatment), soon gave up on finding another job, and became
increasingly dependent on alcohol. Sagar, as a young teenager, bore the emotional strain
of seeing the decline of the father he so dearly loved and of experiencing his family’s
growing financial insecurity.

       In 2020, after an earlier hospitalization for liver disease, Suchen contracted Covid-
19, and he died of the disease at the age of 43. Losing his father would have been painful
under any circumstances, but was especially difficult because quarantine procedures
meant Sagar could not visit his father during his final days in the hospital and had to say
goodbye over FaceTime.

      Like all of the family members who have written to the Court, Sheena recognizes
the cumulative impact this series of family tragedies had on Sagar:

              The once lively household, which had been home to five
              people, was now reduced to just Sagar and his mother.
              Financially, they were struggling. My aunt worked part-time
              in retail, but the loss of my uncle’s income and the retirement
              funds from my grandparents left them with very little. Sagar
              was left to navigate school and after-school life largely on his
              own.

              Despite the efforts of our family to support him, the weight of
              these responsibilities and the trauma he had experienced were
              too much for a young person to bear. [Exhibit B]

       Unfortunately, the anguish and confusion brought about by these events coincided
with a time when, because of the pandemic, remote learning replaced in-person schooling
and social gatherings were discouraged. Sagar found himself spending more and more
time alone in his room, engaging over the internet with people he knew only through their
online identities.
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       The Offense Conduct

       It was through those online associations that Sagar became affiliated with the
shadowy group known as ViLE, whose members bragged to one another about the
methods they used to find and publish personal information about individuals on the
internet. Although the members often justified their actions by ascribing despicable
conduct to their targets, Sagar recognizes that there was no excuse for his participation in
the group’s exploits, and that those activities were not only wrongful, but criminal. As
Rittu Singh tells the Court, the present prosecution was a “wake-up call” for Sagar and he
is “deeply remorseful.” [Exhibit A]

       During his plea allocution, Sagar acknowledged that, in April and May of 2022, he
agreed with another person to access a non-public website maintained by a federal
agency, and that on May 7, 2022, he logged onto that site in order to gain access to its
information, using credentials of another person that he did not have permission to use.
That conduct established his guilt of conspiracy to commit computer intrusion that was
unlawful under 18 U.S.C. §1030, in violation of 18 U.S.C. § 371 (Count One), as well as
aggravated identity theft, in violation of 18 U.S.C. §§ 1028A(a)(1) (Count Two).

       The Guidelines

       We agree with the Probation Department’s determination that the adjusted offense
level for Count One is 12 [PSR, ¶ 41], and that there should be a two-level reduction for
acceptance of responsibility [U.S.S.G. § 3E1.1(a)] and a two-level reduction for zero
criminal history points, resulting in a total offense level of 8 [PSR, ¶¶ 47-49]. For a
defendant in criminal history category I, the corresponding advisory sentencing range is
zero to 6 months.

      We also agree that the guideline sentence for Count Two is the statutory term of
two years [PSR, ¶ 42].

       A Sentence Well Below the Mandatory Minimum Term Would Be
       Sufficient to Achieve the Purposes of Sentencing in this Case

        In determining an appropriate sentence, courts are guided by the sentencing
statute’s “overarching provision instructing district courts to impose a sentence sufficient,
but not greater than necessary, to accomplish the goals of sentencing, including to reflect
the seriousness of the offense, to promote respect for the law, to provide just punishment
for the offense, to afford adequate deterrence to criminal conduct, and to protect the
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public from further crimes of the defendant.” Kimbrough v. United States, 552 U.S. 85,
101 (2007) (quoting 18 U.S.C. § 3553(a)).1 In the present case, the minimum term
required under 18 U.S.C. § 1028A will result in a sentence that is excessive by that
standard.

       In the absence of that statutory limitation, a below-guideline sentence would be
warranted in view of the fact that Sagar was only 18 years old at the time he engaged in
the conduct for which he has been convicted. As this Court observed earlier this year in
United States v. Kaziu, No. 09-CR-660, 2025 WL 629873 (E.D.N.Y. Feb. 27, 2025), the
Supreme Court has recognized “that a sentencer should have the ability to consider the
mitigating qualities of youth . . . because it is a time of immaturity, irresponsibility,
impetuousness, and recklessness” at “a moment and condition of life when a person may
be most susceptible to influence and to psychological damage.” Id. at 6 (quoting Miller v.
Alabama, 567 U.S. 460, 476 (2012). The Court also cited with approval Justice
Kennedy’s statement, in Roper v. Simmons, 543 U.S. 551, 569 (2005), that “any parent
knows . . . [that a] lack of maturity and an underdeveloped sense of responsibility are
found in youth more often than in adults and are more understandable among the youth.”
Your Honor also noted the significance of the 2024 amendment to the Guidelines that, in
place of a policy limiting departures to cases in which considerations based on a
defendant’s age “are present to an unusual degree and distinguish the case from the
typical cases covered by the guidelines,” recognized without qualification that a
downward departure “may be warranted due to the defendant’s youthfulness at the time of
the offense or prior offense.” 2025 WL 629873 at 6, quoting U.S.S.G. § 5H1.1.

       In connection with an application for reduction of a sentence imposed on a
defendant convicted of a murder committed when he was 18 years old, the court in United
States v. Ramsay, 538 F.Supp.3d 407 (S.D.N.Y. 2021)(Rakoff, J), drew on findings
supported by neuroscientific, psychological, and sociological evidence regarding the
adolescent brain when it concluded, inter alia, that:

              The need for just punishment corresponds to the moral
              culpability of an offense. Adolescents’ immaturity, their
              susceptibility to peer influence, and their dependence mean
              their irresponsible conduct is not as morally reprehensible as


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        Unless otherwise indicated, quotations in this letter omit all internal alterations,
quotation marks, footnotes, and citations.
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              that of an adult. Thus, a “just punishment” for an adolescent is
              usually less severe than a “just punishment” for a similarly
              situated adult.

Id. at 423. The court also recognized that, because “adolescents’ characters are still
developing and because adolescent crime is attributable, in part, to temporary
inadequacies of the adolescent brain,” there is both a lesser need to incapacitate and a
greater likelihood of successful rehabilitation than in the case of a similarly-situated adult.
Id.

       These considerations should apply with particular force in Sagar’s case. While
adolescence is a time of tumult for most people, Sagar experienced a series of significant
losses beginning at age thirteen that are far from typical. The loss of three loved ones who
had been critical sources of nurturing and support shattered the secure home life he had
previously known. Witnessing his father’s despair and descent into alcoholism, followed
by his untimely death, and bearing an outsized sense of responsibility toward his mother
as she struggled to cope with these losses, undoubtedly had a profound affect on Sagar’s
psychological development and left him with deep emotional scars.

       In view of these circumstances, we urge the Court to conclude that a sentence
substantially below the two-year sentence that is statutorily mandated would be
“sufficient, but not greater than necessary,” to achieve a just sentence. Accordingly, we
ask the Court to impose a sentence of time served with respect to Count One.2

                                           Respectfully,

                                           /s/
                                           Jeremy Gutman
                                           Attorney for Defendant
                                           Sagar Singh


       2
        For the reasons discussed in our letter to United States Probation Officer Maxine
Marquez, which is submitted as Exhibit E, we contend that the Mandatory Victim
Restitution Act (“MVRA”) does not authorize an order of restitution in this case. While
the issue may largely be moot because no claim for restitution has been submitted, we ask
the Court to strike the paragraphs of the PSR suggesting that the MVRA applies here. We
also object to the discretionary special conditions of supervised release recommended by
Probation for the reasons presented in that letter, which we incorporate by reference.
